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               IN THE UNITED STATES DISTRICT COURT
              FOR THE SOUTHERN DISTRICT OF GEORGIA
                       BRUNSWICK DIVISION

 UNITED STATES OF AMERICA

         V.                                    )       Case No. CR 212-2

 DENNIS S. MOMAH                              )



                                         ORDER



         Upon consideration of the request by the defendant for return of his bond posted on

 behalf of himself, Dennis S. Momah, in the amount of $10000.00, and the government

 having orally stating they have no objections, said request is hereby GRANTED.

         IT IS HEREBY ORDERED that the Clerk of this Court disburse said funds, plus any

 and all accrued interest, to:

         Dennis Momah
         do Brian McEvoy
         3127 Maple Drive NE
         Atlanta, Georgia 30305



         SO ORDERED thisZ.:Jda/of                                 2014.



                                       LISA G&BY WOOD, CHIEF JUDGE
                                       UN,ITED STATES DISTRICT COURT
                                       SOUTHERN DISTRICT OF GEORGIA
